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CaseCaption:OTERO PABL O VS H U BBERT, JR.                                       CaseType:AU TO N EG L IG EN CE-PERS ON AL IN JU RY (VERBAL
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CaseInitiation D ate:11/06/2018                                                  D ocum entType:Com pla in twith Jury D e m a n d
AttorneyNam e:L U IS A M ARTIN EZ                                                JuryD em and:YES -6JU RO RS
F irm Nam e:L A BARBIERA & M ARTIN EZ                                            H urricaneSandyrelated? N O
Address:9252KEN N ED Y BL VD                                                     Isthisaprofessionalm alpracticecase? N O
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 Do parties have a current, past, or recurrent relationship? N O
 If yes, is that relationship:
 Does the statute governing this case provide for payment of fees by the losing party? N O
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations? N O
        If yes, please identify the requested accommodation:


 Will an interpreter be needed? N O
          If yes, for what language:




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 11/06/2018                                                                                                                     /s/L U IS A M ARTIN EZ
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